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                         Exhibit J
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             Proposed Toil and Fare
                    Structure




      Executive Session - A ugust 19, 2011   THE PORTAIMHOBRY OF NY& NJ




 Good Morning Commissioners. I appreciate the opportunity to
 present for your approval, a new toll and fare structure for our
 Tunnels, Bridges and PATH system.




                                                                          AAA 217
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         Current Environment
         > Historic economic recession:
            • Lost $2.6 billion in projected net revenues

         > Approximately $6 billion in post 9111 security costs

         > More than $11 billion to rebuild WIC site

         > Aging facilities require largest overhaul in 90-year history

         > Need to build modern facilities for future needs



                                                               THE PORTILIMIORITY OF NY& NJ




 The historic economic recession has had a dramatic effect on the Port Authority as we have
 lost $2.6 billion in net revenues from what was projected when we set the last ten-year
 capital plan in 2007.


 Since 9/11, our annual and capital security costs have nearly tripled and we have spent
 approximately $6 billion in security costs for our facilities. Finally, we are investing over
 $11 billion to rebuild the World Trade Center site.


 At the same time there is a need billions to overhaul our aging facilities, some of which are
 over 100 years old; and to build modem facilities for future needs.




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               Activity Levels Down at Each. Facility
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Activity for 2011 is lower across all lines of business when compared to the 2008 forecast e.g.:

• Aviation levels are 10% lower

• Tunnel and Bridge traffic is 7.5% lower

• PATH passenger levels are 12% lower

• Port containers are 5.2% lower




                                                                                                                                                                      AAA 219
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           Security Costs
                                   > Added over 300 uniformed police officers

                                   > Tunnel and bridges facility hardening
            $6 Billion               and strengthening

           in Security             > PATH tunnel mitigation projects
              Costs                > Airport access controls

                                   > Port Commerce security identification
                                     system

                                   > World Trade Center vehicle security center


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Security costs totaled approximately $6 billion since the September 11, 2011 attacks. When
comparing 2011 to 2001, costs increased by 180%.

• Added over 300 uniformed police officers since 9/11.
• Tunnels and Bridges facility hardening and strengthening programs to increase safety and
security at all of the Port Authority's vehicular crossings.
• PATH mitigation projects to increase tunnel security, longevity and operation capability, and to
protect the integrity of the PATH tunnel system.
• Airport airside access controls to provide increased physical facility security and security
bollard (hardened barriers) installations at all airports.
• Port Commerce security identification system to help ensure that only authorized individuals
are able to access secure areas of the Port and implementation of a complete access control and
closed-circuit television (CCTV) monitoring system to enhance overall port security.
• The World Trade Center Vehicle Security Center and Tour Bus Parking Facility (VSC) as part
of the comprehensive WTC area police and security plan for vehicles entering the WTC site and
its facilities.




                                                                                             AAA 220
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        Managing in Economic Downturn
        > 3 years zero growth operating budgets
              • Staffing levels lowest in 40 years
              • Reduced consulting services
              • Restructured programs, leveraged technology
                and streamlined business practices

        v Deferred capital spending




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The Port Authority started cost-cutting management measures going back to 2004. Since
2004, the Port Authority reduced non-public safety staffing levels by more than 700
positions,. approximately 12%.



In addition, we have delivered 3 consecutive years of zero-growth operating budgets. To
achieve these zero growth budgets we also restructured functions, leveraged technology and
streamlined business practices and significantly reduced consultant service&



This constrained operating environment also required us to re-prioritize and defer millions
of dollars in program capital spending.




                                                                                        AAA 221
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         Toll & Fare Increase Proposal
        E-ZPass Toil
                           9118111    12/1112        1211113     1211114     1211/15

         Car               $1.50     $.75    $.75     $.75    $.75
        Truck             $2/axle $2/axle $2/axle $2/axle $2/axle

        Cash Penalty
                            9118/11   12/1/12        12/1/13     12/1/14      12/1115
         Car (rounding up) $2            $2          $2             $2         $2
         Truck              $3/axle $3/axle $3/axle              $3/axle $3/axle

        PATH
                            9/18/11    10/1112        10/1/13     10/1/14

        Path Fare            $.25        $.25             $.25      $.25

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In order to maintain and grow the critical transportation infrastructure that serves the bi-
state region, the toll and fare increases are essential if the Port Authority is to have the
financial capabilities necessary to drive this region forward.


As you can see, under this proposal, developed in consultation with governors Cuomo and
Christie as can be seen on the screen, car tolls would be raised $1.50 in September and $.75
each December through 2015. Truck tolls would increase $2 per axle in September and
again each December until 2015. Cars and trucks not using E-Zpass would pay a penalty of
$2 per car and $3 per truck axle. We believe this cash penalty will encourage drivers to
move to E-Zpass, which in turn will reduce congestion at our bridges and tunnels.


Finally, PATH fares would increase $.25 in September and again in each October 2012,
2013 and 2014.


Taken together, these increases, modified from the initial proposal put forward to the Board
and public will assure our continued financial stability, which creates tens of thousands of
jobs and improves our infrastructure.




                                                                                                AAA 222
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         Hearings and Comment Opportunities
         >. Nine public hearings held at the following locations:
             • Newark Liberty International Airport
             • Port Authority Technical Center
             • Port Ivory/Howland Hook
             • Port Authority Bus Terminal
             - George Washington Bridge Administration Building
             • Holland Tunnel Administration Building
             - George Washington Bridge Bus Station
             • John F. Kennedy International Airport
             • Online Hearing-Port Authority Website

         > Added a public meeting in Staten Island at the request of the
           Staten Island community

         >Comments also received via mail and the Port Authority Website
         >Official transcripts of all hearings provided to Board of Commissioners


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As you know, we held a record number of public hearings with record turnout at nine
locations including one online. In addition, we received comments via mail and our
website.


A public meeting was also added in Staten Island at the request of the Staten Island
community


We heard many compelling stories from a broad spectrum of individuals across the region.
We heard from those who oppose the plan and we heard form those who support the plan,
including over 60 organizations, representing business, labor and environmental groups.
Finally, our Governors provided us the guidance to reach today's proposal.


Again, these increases are imperative if we are to accomplish the much needed projects to
advance the agency's infrastructure and economic growth mission.




                                                                                           AAA 223
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        Capital Capacity
        > $25.1 billion of capital investment over 10 years
            • Approximately 60% to be spent in the next 4 years

        > Address immediate critical infrastructure needs

        > Allow Agency to meet financial statutory requirements

        > Creates private sector jobs and economic opportunity




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This toll and fare increase will allow the Port Authority to invest $25.1 billion in critical
infrastructure projects that will provide an efficient, safe and secure transportation network
for our customers who rely on this agency every day.


This will also allow the agency to access the capital markets while maintaining our strong
credit ratings and meeting all of our statutory bond covenants.


This capital plan will also benefit the region by generating 131,000 jobs will be created,$7.6
billion in wages and $30 billion in sales.




                                                                                            AAA 224
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         Key Ratios
                           Additional      Current             Total Debt
                           Bonds Test      Coverage            Coverage
                           Ratio           Ratio               Ratio

           2011            1.72            2.04                 3.92
           2012            1.40            2.06                 4.35
           2013            1.50            2.08                 4.52
           2014            1.38            1.95                 4.75
           2015            1.41            1.94                 4.43
           2016            1.53            1.99                 4.25
           2017            1.50             1.92                4.23
           2018            1.49            1.97                 4.02
           2019            1.58            1.77                 3.89
           2020            1.59            1.94                 3.80
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  These are three standard rating agency ratio evaluation metrics. The additional bond test
 must meet or exceed the statutory 1.30x limit.


 The current coverage ratio is net operating revenues to debt service to operations.
 This ratio must exceed I.4x.


 Total debt coverage ratio is total debt to gross operating revenues. This ratio must not
 exceed 5.0x.




                                                                                         AAA 225
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       Tunnels, Bridges & Terminals
       Provides massive investment to preserving facilities, some over
       85 years old, which are presently used by 120 million vehicles and
       3 million bus movements each year, and builds new facilities
       supporting future demand.

          • Raising Bayonne Bridge roadway
          •Replacing Goethals Bridge
          • Replacing George Washington Bridge suspender ropes
          • Reconstructing Lincoln Tunnel helix
          • Rehabilitating roads, decks and ventilation systems

       Benefits: accommodates megaships, rehabilitates miles of roads
       and decks, and vital ventilation systems
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                                                                       AAA    226
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       PATH
        Investments rebuild and add capacity to key transit system linking
        the states, over 100 years old and serving nearly 74 million
        passengers surpassing pre 9/11 levels.
           • Station improvement program and 10 car platforms for the
             Newark-WIC service
           • New car purchases
           • Signal system replacement program
           • Upgrading and replacing power systems
           • Enhancing security systems:
             • Water management system
               New electrical duct banks,
               Structural improvements
             • Tunnel erosion protection

        Benefits: provides more timely, comfortable and reliable system
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       Aviation
       Redevelopment of one of the busiest airport networks in the
       world, serving over 100 million passengers, transporting over 2
       million tons of cargo and supporting over 455,000 jobs in the
       region annually.
          • Replacement or rehabilitation of runways and taxiways
          • Rehabilitation and overhaul of AirTrain
          • Upgrading utilities and power systems
          • Improving airport airside access controls for increased
            physical facility security and installing security bollards to
            protect tenant terminal frontages

       Benefits: maintains 285 miles of roadway, taxiways and runways,
       reduces delays, accommodates larger aircraft and ensures FAA
       compliance

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                                                                              AAA 228
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       Port Commerce
       Maintains competitiveness of region's link to global markets by
       providing for megaships of the future and direct links from docks to
       rails for over 3 million containers handled annually.
          • Terminal redevelopment
          • Major replacement or rehabilitation of piers, berths and wharfs
          • Expanding and enhancing capacity on ExpressRail and
            roadways
          • Ensuring only authorized individuals can access secure areas of
            the port

       Benefits: more efficient movement of goods and maintains
       competitiveness



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       W orld Trade Center
        Complete rebuilding World Trade Center site
          • Secure state-of-the-art office and retail complex
          • Multi-modal transportation hub for commuters
          • 9/11 memorial infrastructure
          • Vehicle security center
          • Site infrastructure



        Benefits: multi-purpose public and commercial development

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          Request For Approval
          > Required to meet critical facility needs now and in the
            future
          > Region depends on us for the safe and efficient movement
            of goods and people

          • Over the next 4 years the Port Authority will fund
            approximately $15 billion in capital spending helping
            stimulate the regional economy
          > Over the next 10 years 131,000 jobs will be created, $7.6
            billion in wages generated and $30 billion in sales



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Commissioners, we recognize the difficulty of deciding to raise tolls and fares at this time.
However, it is required to meet critical facility needs now as well as in the future.

The region depends on us for moving goods and people safely and reliably. Over the next 4 years,
the Port Authority needs to fund approximately $15 billion in capital spending.

Over the next 10 years 131,000 new jobs will be created, $7.6 billion in wages will be generated
and $30 billion in sales by our capital investments.

Commissioners, I request your approval of these items.




                                                                                                AAA 231
